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     Attorneys for Defendant
 7   THONGSOUK THENG LATTANAPHOM
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr-S-99-0433 WBS
                                     )
12                  Plaintiff,       )
                                     )      MOTION AND [PROPOSED] ORDER
13        v.                         )      CONTINUING SENTENCING
                                     )
14   THONGSOUK THENG LATTANAPHOM,    )      Judge:     Hon. William B. Shubb
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant THONGSOUK LATTANAPHOM, by and through his counsel, hereby
18   moves to continue his sentencing 90 days to permit his recently assigned
19   counsel sufficient time to complete their necessary preparations for
20   sentencing.    Mr. Lattanaphom is currently scheduled for sentencing on
21   September 21, 2009, at the same time as the codefendants.
22        As detailed in the supporting declarations of counsel, filed ex
23   parte and under seal, Mr. Lattanaphom’s counsel are diligently preparing
24   for sentencing.      The length of continuance requested, 90 days, is
25   sufficient    to   permit   counsel   to   complete   their   preparations   for
26   sentencing.   The inconvenience this continuance might cause the court is
27   small compared to the prejudice Mr. Lattanaphom will suffer without the
28   requested continuance.      It is apparent from the government’s opposition
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 1   to codefendant Hoang Ai Le’s request for a writ of habeas corpus ad
 2   prosequendum,1 that the government will not be harmed by this request. It
 3   is also clear that Mr. Lattanaphom will suffer extreme harm without a
 4   continuance.     He faces a sentencing recommendation of life plus 540
 5   months in prison.     Even though Mr. Lattanaphom was a juvenile at the time
 6   of the crimes, he faces a life without possibility of parole term as the
 7   federal prison system offers no supervised release to juvenile offenders
 8   sentenced to life terms.
 9         These   factors   collectively   justify    granting   Mr.   Lattanaphom’s
10   request for a 90 day continuance of sentencing.           See United States v.
11   Rivera-Guerrero, 426 F.3d 1130, 1139-1143 (9th Cir. 2005)2; United States
12   v. Flynt , 756 F.2d 1352, 1359 (9 th Cir. 1985)(setting out four factors
13   outlined above and holding that "[t]he weight ... attributed to any
14   single factor may vary with the extent of the showings on the other
15   factors.").
16   Dated:    September 11, 2009            Respectfully submitted,
17                                           DANIEL J. BRODERICK
                                             Federal Defender
18
                                             /s/ Ann C. McClintock
19                                           ANN C. McCLINTOCK
                                             Assistant Federal Defender
20                                           Attorneys for Defendant
                                             THONGSOUK LATTANAPHOM
21
22
23         1
             See Docket entry no. 1309, page 2 (recital that government
     opposes having Mr. Le transported back to the Eastern District of
24   California for sentencing on September 21, 2009, suggests government is
     not harmed by having the defendants separately sentenced.)
25
           2
             As Rivera-Guerro observed, a district court's denial of a
26   continuance, even after it concludes that a defendant failed the
     diligence prong of the Flynt analysis, may still be reversible error.
27   436 F.3d at 1140, citing as an example, United States v. 2.61 Acres of
     Land, More or Less, Situated in Mariposa County, State of Cal., 791
28   F.2d 666, 671-72 (9th Cir. 1985).
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     Motion and Proposed order              -2-
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                                     )      [PROPOSED] ORDER
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                                     )
14   THONGSOUK THENG LATTANAPHOM,    )      Judge:      Hon. William B. Shubb
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17                                         ORDER
18               IT IS     HEREBY ORDERED that for the reasons stated in the
19   Defendant’s motion to continue, that the sentencing hearing now set for
20   defendant THONGSUK THEN LATTANAPHOM is continued from September 21, 2009,
21   to January 19, 2010, at 9:00 a.m.
22   Dated:   September 21, 2009
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24
25
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     U.S. v.Lattanaphom, Cr-S-99-0433
     Motion and Proposed order              -3-
